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1     NICOLA T. HANNA
      United States Attorney
2     BRANDON D. FOX
      Assistant United States Attorney
3     Chief, Criminal Division
      ROBERT J. KEENAN (Bar No. 151094)
4     Assistant United States Attorney
        UNITED STATES ATTORNEY’S OFFICE
5       411 W. Fourth Street
        Suite 8000
6       Santa Ana, California 92701
        Telephone: (714) 338-3597
7       Facsimile: (714) 338-3708
        E-Mail: rob.keenan@usdoj.gov
8
      Attorneys for Plaintiff
9     UNITED STATES OF AMERICA

10

11                            UNITED STATES DISTRICT COURT

12                           CENTRAL DISTRICT OF CALIFORNIA

13                                  SOUTHERN DIVISION

14

15    UNITED STATES OF AMERICA,                 Case No. SA CR 08-197-DOC

16                     Plaintiff,               GOVERNMENT’S OPPOSITION TO
                                                DEFENDANT’S UNEXHAUSTED MOTION
17               v.                             TO REDUCE SENTENCE PURSUANT TO
                                                18 U.S.C. § 3582(C)(1)(A)
18    VO DUONG TRAN,

19                     Defendant.

20

21         Plaintiff United States of America, by and through its counsel
22    of record, the United States Attorney for the Central District of
23    California and Assistant United States Attorney Robert J. Keenan,
24    hereby files this response to defendant’s unexhausted motion to
25    reduce his sentence pursuant to 18 U.S.C. § 3582(c)(1)(A).
26         The government asks this Court to dismiss the motion without
27    prejudice, or grant a stay, due to defendant’s failure to exhaust
28    administrative remedies.      If the Court reaches the merits, the
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1     government further argues that the motion must be denied because

2     defendant is not eligible for compassionate release under applicable

3     law.

4            This response is based upon the attached memorandum of points

5     and authorities, the files and records in this case, and such further

6     evidence and argument as the Court may permit.

7     DATED: April 9, 2020.                Respectfully submitted,

8                                          NICOLA T. HANNA
                                           United States Attorney
9
                                           BRANDON D. FOX
10                                         Assistant United States Attorney
                                           Chief, Criminal Division
11

12                                             /s/ R.J.K.
                                           ROBERT J. KEENAN
13                                         Assistant United States Attorney

14                                         Attorneys for Plaintiff
                                           UNITED STATES OF AMERICA
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1                                    I.    INTRODUCTION
2           Defendant VO DOUNG TRAN is an ex-Special Agent of the FBI, who,

3     after being fired from that position, resorted to a life of crime.

4     As the government established at trial in 2009, before Judge

5     Guilford, defendant TRAN operated an interstate home-invasion robbery

6     scheme.    Over the course of six months, TRAN engaged in extensive,

7     recorded conversations with a CI and an undercover agent during which

8     he planned a home-invasion robbery of a purported drug-stash house in

9     Fountain Valley, CA.      In July 2008, TRAN flew out to Orange County

10    with his co-defendant (YU SUNG PARK) to commit the robbery.            Once

11    here, they assembled an arsenal of five firearms (including a

12    machinegun, silencer-equipped AR-15 rifle, and silencer-equipped

13    handgun), hundreds of rounds of ammunition, zip-ties, and body armor.

14          In his pending motion, TRAN nonetheless requests an immediate

15    and permanent compassionate release from imprisonment due to the

16    COVID-19 epidemic.     Moreover, he does so prematurely without having

17    satisfied 18 U.S.C § 3582(c)(1)(A)’s mandatory administrative-

18    exhaustion requirement or eligibility criteria and while ignoring the

19    18 U.S.C. § 3553(a) factors and his continuing danger to the

20    community.    Neither statutory authority nor public health demands

21    such a windfall.     Moreover, defendant’s logic would endorse the mass,

22    permanent release of convicted criminals into a pandemic, without

23    regard for the factors justifying their sentences or for the Bureau

24    of Prisons’ (BOP’s) individualized risk assessment.           That is not a

25    way to fight disease and not a way to protect the public.

26          The motion should be dismissed without prejudice, or stayed,

27    until defendant has exhausted his administrative remedies within BOP.

28    First, has failed to comply with the mandatory exhaustion requirement
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1     of 18 U.S.C. § 3582(c), which thus requires dismissal of the motion

2     or, at minimum, a stay until the BOP has had an opportunity to assess

3     defendant’s request or his eligibility for home confinement.            Second,

4     even if the Court could reach the motion’s merits, defendant is

5     neither eligible for, nor entitled to, compassionate release.

6                                II.   STATEMENT OF FACTS
7     A.    Defendant’s Crimes
8           In July 2008, after six months of planning, defendant TRAN and

9     his co-defendant, YU SUNG PARK (“PAR”), traveled to California from

10    their home states of Louisiana and Illinois to commit a violent,

11    home-invasion robbery of a residence that they believed was a stash-

12    house used by drug-traffickers to store large amounts of cash and

13    drugs.    Upon their arrival in Orange County, defendants got a hotel

14    room and assembled an arsenal in preparation for the robbery,

15    including (1) a fully-automatic machinegun; (2) an AR-15 assault

16    rifle equipped with a silencer; (3) three handguns, one of which was

17    equipped with a silencer and netting to catch discharged shell

18    casings; (4) 30 magazines fully-loaded with 600 rounds of ammunition;

19    (5) four bullet proof vests; (6) raid gear; and (7) several large

20    “zip-ties” that they intended to use to restrain the occupants of the

21    stash-house.    (See Ex. “A” for photos of defendant’s cache of

22    firearms.)

23          While armed with a handgun, defendants then met up with two

24    supposed co-conspirators to plan the robbery. 1         After casing the

25    stash-house, defendants met with the others in a hotel room to plan

26

27
            1 The two supposed co-conspirators were, in fact, an undercover
28    FBI Agent (“UC Agent”) and a Confidential Informant (“CI”).

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1     exactly how they would commit the robbery, which they agreed would be

2     committed on the following day.        They were deadly serious.

3     Defendants instructed the CI and UC Agent about the following

4     matters: (1) the number of guys who would make entry into the house;

5     (2) tactics for making a forcible entry into the house and subduing

6     the occupants, with PARK noting “I’d rather zip-tie him up and use

7     him as a shield”; (3) the need to “shoot” anyone who runs, with PARK

8     stressing that you “can’t miss” and “take two or three shots at one

9     guy”; (4) whether neighbors would hear if they “light off a fuckin’

10    M16 round”; and (5) who would stay outside to serve as a lookout,

11    getaway driver, and handle the “big gun” (i.e., the machinegun) in

12    the event “black-and-whites” showed up.         PARK quipped that the raid

13    would be “like shooting fish in a barrel.”

14    B.    Trial & Sentencing
15          In March 2009, a jury convicted defendants TRAN and PARK of the

16    following offenses: (1) conspiracy to commit a robbery affecting

17    interstate commerce, in violation of 18 U.S.C. § 1951(a) (“the Hobbs

18    Act”), (2) interstate travel and acquisition of a firearm with intent

19    to commit a robbery, in violation of 18 U.S.C. § 924(g);

20    (3) possession of firearms in furtherance of a “crime of violence,”

21    namely, the Hobbs Act robbery conspiracy charged in Count One and the

22    § 924(g) offense charged in Count Two; and (4) possession of a

23    machinegun, in violation of 18 U.S.C. § 922(o)(1).           (CR 161.)    The

24    verdicts on the 924(c) count triggered a mandatory-minimum sentence

25    of 30 years because the offense involved a machinegun and silencers.

26          On April 26, 2010, after denying post-trial motions for
27    acquittal and new trial, this Court (per Judge Guilford) sentenced
28

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1     both defendants TRAN and PARK to a term of 30 years’ imprisonment,

2     the minimum sentence then allowed by law.         (CR 253, 255.)

3     C.    Appeal & Post-Conviction Litigation
4           On May 24, 2012, the Ninth Circuit affirmed defendants’
5     convictions on all counts.       (See CR 291; see also 9th Cir. Case Nos.
6     10-50207 & 10-50268.)      Defendants TRAN and PARK thereafter filed
7     § 2255 motions to vacate their convictions and sentences on various
8     grounds.
9           On March 30, 2018, the Court (per Judge Guilford) denied
10    defendants’ § 2255 motions as to most of their claims, but granted it
11    in part as to Count 3, the § 924(c) count.         Specifically, the Court
12    vacated their convictions and sentences on Count 3 on the ground that
13    § 924(c) is unconstitutionally vague under Johnson v. United States,
14    135 S. Ct. 2551 (2015), and the Ninth Circuit’s decision in Dimaya v.
15    Lynch, 803 F.3d 1110 (9th Cir. 2015), affirmed Sessions v. Dimaya,
16    138 S. Ct. 1204 (2018).
17    D.    July 2018: Resentencing Hearing
18          The order vacating the § 924(c) conviction and its 30-year
19    mandatory-minimum sentence required both defendants to be
20    resentenced.    On July 11, 2018, the Court held a hearing for the
21    resentencing of defendants on the three remaining counts of
22    conviction for the Hobbs Act robbery conspiracy (Count 1) and the
23    related firearms offenses (Counts 2 and 4).          (See CR 378, 380; see
24    also CR 394, RT 7/11/2018.)
25          TRAN argued for a time-served sentence of approximately 10
26    years, noting that he had by then already served a lengthy sentence,
27    had a satisfactory record of good behavior while in prison, had no
28    prior criminal history, and had a supportive family.           (See CR 370;
                                              4
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1     see also RT 7/11/2018: 15-20.)       The government argued for a 30-year

2     sentence, as Dimaya had not yet been decided by the Supreme Court and

3     the government maintained that § 924(c)’s 30-year mandatory-minimum

4     still controlled.     Under § 3553(a), the government strongly opposed

5     defendants’ requests for a time-served sentence because both

6     defendants posed a danger to the community.

7            Notwithstanding defendant’s claim that he was a changed man and

8     a time-served sentence of 10 years was sufficient, the Court

9     sentenced defendant to a sentence of 15 years’ imprisonment, above

10    the Guidelines range.      (CR 378, 379; see also CR 394; RT 7/11/18: 37-

11    40.)    In explaining its sentence, the Court acknowledged that

12    defendant had “done a good job in prison” and had “lot[s] of support

13    from others,” which “speaks well of [defendant TRAN].”           (CR 394; RT

14    7/11/18: 37.)     However, the Court said it felt a sentence of 15

15    years’ imprisonment was necessary to achieve the goals of sentencing

16    under § 3553(a).     (RT 7/11/18: 37-40.)      Judge Guilford said that one

17    of the “things that continue[d] to trouble [him] about the

18    defendants” was “the callousness of the crimes that you were

19    convicted of,” which goes to the “nature and circumstances of the

20    offense.”    (Id. at 37.)    Judge Guilford noted that he was “still ...

21    affected” by the conduct which was “summarized by the government” as

22    follows:

23                “The insouciant nihilism exhibited by the
                  defendants make them very dangerous to society.
24                By their words and deeds, defendants have made
                  clear they care only for themselves and recognize
25                no moral limitations on their behavior. In some
                  of the more chilling undercover statements, Tran
26                repeatedly told the CI that he and his ‘dialed-in
                  guy’ ... always had a ‘big’ ‘powerful rifle’
27                outside the target at home so they could go to
                  war if any police officer showed up at an
28                inopportune time. In a clear reference to the

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1                 machine gun, Tran bragged that he could take out
                  five cops in a second if he had to do so.”
2
      (Id. at 37-38.)
3
            As Judge Guilford continued:
4
                  That is a serious offense, and my sentence needs
5                 to take into account the seriousness of the
                  offense. I certainly need to promote respect for
6                 the law and provide a just punishment. I need to
                  convince others not to engage in this conduct.
7                 Aspects of the law show concern about what people
                  say. “Five cops in a second” is a serious
8                 statement here. Perhaps most importantly to me
                  is I need to protect the public from further
9                 crimes of the defendant....

10    (Id. at 38.)

11          Defendant PARK also received a 15-year sentence (CR 380, 381)

12    because Judge Guilford thought the defendants were similarly situated

13    and deserved identical sentences.        (See CR 394; RT 7/11/18: 40.)

14    E.    Incarceration and Projected Release Date
15          Defendant is currently serving his sentence at the Federal

16    Correctional Institution I in Oakdale, Louisiana (“FCI Oakdale”).

17    Counting from the day of his arrest in July 2008, defendant has

18    served approximately 11 years & 9 months of his 15-year sentence.

19    According to the BOP’s website, defendant’s projected release date is

20    approximately one year from now: June 4, 2021.

21    F.    Defendant’s Failure to Exhaust Administrative Remedies
22          In his motion, defendant claims that he has attempted to exhaust

23    administrative remedies.      (See Mtn. at 10-11; see also Exs. At pgs.

24    1-3) (Defendant’s E-Mail Declarations).)         Defendant claims that “he

25    was able to submit the request” for compassionate release on Monday,

26    March 30, 2020.     (Mtn. at 11.)    He further alleges that, on the next

27    day, March 31, 2020, the staff posted a memorandum stating that the

28    institution was “waiting for guidance” before they would process any

                                              6
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1     immediate release request pursuant to the Barr Memo.           (Id.)   Finally,

2     defendant’s motion claims that, on Thursday, April 2, 2020, defendant

3     “spoke directly to Warden R. Myers, who refused to accept the Request

4     (a copy of the one initially submitted),” and “the request was

5     [thereafter] returned to him by staff, with no action having been

6     taken,” on Friday, April 3, 2020.        (Id.)

7           In his e-mail/declaration, however, defendant TRAN states it

8     somewhat differently, and essentially admits that he’s relying on an

9     assumption.    In his second e-mail/declaration dated April 4, 2020,

10    defendant says that, “[o]n the returned Cop-Out, there was no

11    Disposition, nothing was noted.        This is a Denial by the Warden plain

12    and simple.”    (Def. Exs. at 3.)

13          Within the short time available to respond to defendant’s

14    “emergency” motion, government counsel has investigated these

15    allegations with the assistance of BOP Counsel.          BOP and FCI-Oakdale

16    staff has been inundated with similar requests.          Nonetheless, at

17    present, government counsel has been advised as follows:

18          1.    The Case Manager for defendant TRAN at FCI Oakdale has said

19    that he has no knowledge of any RIS request (i.e., a Request for a

20    Reduction in Sentence (“RIS”)) submitted by defendant TRAN.            (A Case

21    Manager is on an inmate’s Unit Team, and they ordinarily are the

22    staff that provide and receive administrative remedy forms from the

23    inmate population.)

24          2.    Moreover, the Case Manager has advised that TRAN has not

25    submitted any “cop-outs” to him regarding an RIS request.            (An RIS

26    request is the same thing as compassionate release request, and a

27    “cop-out” is an “Inmate Request to Staff” form that can be

28    handwritten or electronically sent to staff.)

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1           3.    There was no memo sent out stating the BOP staff cannot

2     process RIS requests or grievances.

3           4.    Defendant TRAN has submitted a BP-9 (Administrative Remedy)

4     form to the Warden’s Office.       The date of its submission is unclear.

5     The BP-9 (Administrative Remedy) form is reportedly being processed

6     now, but the BOP’s SENTRY Administrative Remedy Generalized Retrieval

7     Report regarding defendant TRAN does not yet reflect it being filed.

8     Government counsel and BOP Legal have requested, but not yet

9     received, a copy of that BP-9 form from FCI-Oakdale staff.             Thus, the

10    substance of the form and any remedy requested therein is not yet

11    known by counsel.

12          5.    The RIS Coordinator at FCI Oakdale last stated that

13    defendant TRAN has not submitted an RIS request.          So, the BP-9 form

14    referenced above was not considered an RIS/compassionate-release

15    request.    Thus, as of this date, based on currently available

16    information, government counsel is informed that defendant TRAN has

17    not yet submitted a request to the Warden’s Office.

18          Because these facts are, of course, important to the issue of

19    defendant’s exhaustion of administrative-remedies, government counsel

20    will continue to pursue relevant information and update this

21    submission as soon as additional facts are confirmed.           This

22    opposition is submitted at this time in light of the “emergency”

23    nature of the motion and today’s deadline.

24    G.    The Bureau of Prisons’ and Congress’s Response to COVID-19
25          1.    BOP’s COVID-19-Specific Safety Precautions
26          BOP has taken aggressive steps to protect inmates’ health and to

27    resist the spread of COVID-19.       “[M]aintaining safety and security of

28    BOP institutions is [the BOP’s] highest priority.”           BOP, Updates to

                                              8
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1     BOP COVID-19 Action Plan: Inmate Movement (Mar. 19, 2020), available

2     at https://www.bop.gov/resources/news/20200319_covid19_update.jsp.

3     Thus, the BOP Director recently emphasized that the “response [to

4     COVID-19] is the Bureau’s top priority.”         BOP, Statement from BOP

5     Director (Mar. 26, 2020) (Statement from BOP Director), available at

6     https://www.bop.gov/resources/news/20200326_statement_from_director.j

7     sp.

8           The BOP has never underestimated the threat of infectious

9     disease.    To the contrary, the BOP has had a Pandemic Influenza Plan

10    in place since 2012.      Id.; BOP, Pandemic Influenza Plan---Module 1:

11    Surveillance and Infection Control (Oct. 2012), available at

12    https://www.bop.gov/resources/pdfs/pan_flu_module_1.pdf.            That

13    protocol is astoundingly detailed, establishing a six-phase framework

14    requiring BOP facilities to begin preparations when there is first a

15    “suspected human outbreak overseas.”         Id. at i (emphasis added).

16          At extremely early stages, the Pandemic Influenza Protocol

17    requires BOP facilities to ensure inmates’ access to soap, to train

18    them on hand-hygiene practices, and to ensure adequate infection-

19    control supplies.     Id. at 9.    For every phase thereafter (from

20    preliminary preparation, to a response to active pandemic, to

21    recovery), it includes detailed procedures required of every BOP

22    facility.    Id. at 9-11.    These include policies for ensuring for

23    creating “social distance” and for requiring “frequent environmental

24    cleaning of ‘high-touch’ surfaces.”         Id. at 2-3, 6.    Facilities must

25    follow protocols on how to identify sick inmates, track their

26    interactions, and quarantine the exposed.         Id. at 4-5.    They must

27    also establish contingency plans to ensure that medical care is not

28    disrupted, even when faced with an influx of sick inmates.            BOP,

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1     Pandemic Influenza Plan--Module 3: Health Care Delivery (October

2     2012), available at

3     https://www.bop.gov/resources/pdfs/pan_flu_module_3.pdf.             (The BOP

4     has similar protocols for a wide range of diseases.           See BOP Program

5     Statement No. 6190.04, Infectious Disease Management (June 3, 2014),

6     available at https://www.bop.gov/policy/progstat/6190_004.pdf.)

7           The BOP implemented its Pandemic Influenza Protocol in January

8     2020, modified as a COVID-19 Action Plan.         BOP, Action Plan Phase V

9     (Mar. 31, 2020) (“Action Plan Phase V”), available at

10    https://www.bop.gov/resources/news/20200331_covid19_action_plan_5.jsp

11    In Phase 1 of that plan, the BOP began developing policies in

12    consultation with the Centers for Disease Control.           See BOP, COVID-19

13    Action Plan: Agency-Wide Modified Operations (March 13, 2020) (“BOP

14    Action Plan”), available at

15    https://www.bop.gov/resources/news/20200313_covid-19.jsp.

16          Since then, the BOP has serially escalated its response.            BOP,

17    Bureau of Prisons Update on COVID-19 (Mar. 24, 2020), available at

18    https://www.bop.gov/resources/news/pdfs/20200324_bop_press_release_co

19    vid19_update.pdf.     On March 13, the BOP moved to Phase 2 of its

20    Action Plan, taking steps to “mitigate the spread of COVID-19” in

21    prisons, for the protection of both inmates and staff.             See BOP

22    Action Plan, supra.      The BOP suspended social and legal visits,

23    curtailed inmate movement, established enhanced screening procedures

24    for inmates and staff, and curtailed staff travel.           Id.   Consistent

25    with the Pandemic Flu Protocol, facilities adopted “modified

26    operations”---including staggered meal and recreation times---to

27    promote social distancing.       Id.   Just five days later, the BOP

28    escalated to Phase 3--taking additional steps, including ensuring

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1     that “all cleaning, sanitation, and medical supplies” had been

2     inventoried and were adequately stocked.          Id.

3           Phases 4 and 5 followed in late March.           Beginning March 26, the

4     BOP required all newly admitted inmates to be quarantined or isolated

5     for a minimum of 14 days “or until cleared by medical staff.” See

6     Action Plan Phase V, supra.       And, as of April 1, the BOP has

7     instituted a nationwide lockdown.        Id.    For at least a two-week

8     period, “inmates in every institution will be secured in their

9     assigned cells/quarters to decrease the spread of the virus.”              Id.

10    The BOP has also “significantly decreas[ed] incoming movement.              Id.

11          The gravity and severity of these measures reflect BOP’s

12    commitment to fighting COVID-19 and protecting inmates.            And,

13    although the BOP has not been immune from the pandemic, it has “thus

14    far been fortunate in that [its] rate of COVID-19 infection is

15    remarkably low.”     Statement from BOP Director, supra.

16          As of April 9, 2020--despite tens of thousands of COVID-19 cases

17    across the country and over 146,000 inmates in BOP custody--284

18    federal inmates and 125 BOP staff have confirmed-positive test

19    results for COVID-19 nationwide.        All are being isolated from other

20    inmates and receiving medical treatment.          BOP, COVID-19 Coronavirus

21    (updated daily at 12pm Pacific), available at

22    https://www.bop.gov/coronavirus/index.jsp          At present, within the BOP

23    system, there have been 8 federal inmate deaths and 0 BOP staff

24    member deaths attributed to COVID-19 disease.

25          According to the latest information available on the BOP’s

26    website (as of April 9, 2020), in defendant’s facility (FCI Oakdale),

27    there have been 36 inmates and 14 BOP staff diagnosed with COVID-19.

28    (Id.)   Of those, 5 inmates have died.         (Id.)    However, in some

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1     indication of a leveling-off of the situation, the last such death at

2     FCI Oakdale reportedly occurred six days ago, on or about April 3,

3     2020.

4           Of course, “as warned by the Surgeon General of the United

5     States, [the BOP] expect[s] to have more cases as the virus continues

6     to spread in the general community,” but they “will continue to

7     diligently support all persons system-wide while doing everything

8     [they] can to do [their] part in mitigating the spread of the virus.”

9     Statement from BOP Director, supra.

10          2.    Administrative Options Available to Inmates
11          Inmates with COVID-19-based concerns also have a variety of

12    administrative options they can pursue through the BOP itself.

13    Although not reviewable by courts, these options include far more

14    flexible remedies than permanent reduction of a sentence under 18

15    U.S.C. § 3582(c)(1)(A)--remedies better suited to a temporary (if

16    dire) pandemic.     See generally 18 U.S.C. § 3621(b) (precluding

17    judicial review of BOP placement decisions); Reeb v. Thomas, 636 F.3d

18    1224, 1226-28 (9th Cir. 2011) (courts lack jurisdiction to review

19    BOP’s placement decisions under 18 U.S.C. §§ 3622-24); United States

20    v. Grass, 561 F. Supp. 2d 535, 537 (E.D. Pa. 2008) (same).

21          First, the BOP can transfer vulnerable inmates to home

22    confinement.    See generally 18 U.S.C. § 3624(c)(2).         The CARES Act,

23    which Congress passed to address the COVID-19 crisis, vastly

24    increased BOP’s statutory authority to do so.          See Coronavirus Aid,

25    Relief, and Economic Security Act (“CARES Act”), Pub. L. No. 116-136,

26    § 12003(b)(2), 134 Stat. 281, 516 (March 27, 2020) (allowing BOP to

27    “lengthen the maximum amount of time the Director is authorized to

28    place a prisoner in home confinement” under 18 U.S.C. § 3624(c)(2)).

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1     Under this expanded authority--which came into effect only on April

2     3, 2020--inmates “do not need to apply to be considered for home

3     confinement.”     Federal Bureau of Prisons, Home Confinement (Apr. 5,

4     2020) (“BOP, Home Confinement”), available at

5     https://www.bop.gov/resources/news/20200405_covid19_home_confinement.

6     jsp.

7            In his April 3, 2020, memorandum authorizing the BOP to exercise

8     its expanded CARES Act authority, the Attorney General emphasized

9     that “time is of the essence,” and he directed the BOP to focus on

10    facilities that have significant numbers of COVID-19 cases within

11    their inmate population.      Attorney General, Memorandum for Director

12    of Bureau of Prisons Re: Increasing Use of Home Confinement at

13    Institutions Most Affected by COVID-19 (April 3, 2020), available at

14    https://www.justice.gov/file/1266661/download.          Thus, as of April 3,

15    the BOP is “urgently reviewing all inmates” to determine their

16    eligibility, increasing resources to “review and make appropriate

17    decisions as soon as possible.”        BOP Home Confinement, supra

18    (emphasis added).

19           Even before its expanded CARES Act authority came into effect,

20    the BOP had placed “an additional 566 inmates on home confinement” to

21    address the COVID-19 crisis, bringing the national total to nearly

22    3,500.    Id.   This was consistent with the Attorney General’s March

23    26, 2020, memorandum encouraging the BOP to exercise pre-CARES-Act

24    authority as broadly as possible to protect “the people in [their]

25    custody,” taking into consideration prisoners’ age, vulnerability to

26    COVID-19, and other factors.       See Attorney General, Memorandum for

27    Director of Bureau of Prisons Re: Prioritization of Home Confinement

28

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1     as Appropriate in Response to COVID-19 Pandemic (March 26, 2020),

2     available at https://www.justice.gov/file/1262731/download.

3            Second, the BOP has authority to grant an inmate a temporary

4     furlough from custody, under 18 U.S.C. § 3622, for “obtaining medical

5     treatment not otherwise available,” “visiting a relative who is

6     dying,” or “any other significant activity consistent with the public

7     interest.”    See BOP Program Statement No. 5280.09, Inmate Furloughs

8     (January 20, 2011), available at

9     https://www.bop.gov/policy/progstat/5280_009.pdf.           Certain COVID-19-

10    related conditions would potentially satisfy the BOP’s requirements

11    for such a furlough.      Id.

12           Finally, under 18 U.S.C. § 3582(c)(1)(A)--which, unlike BOP’s

13    placement decisions, allows for judicial review--the BOP has initial

14    authority to assess inmates’ applications for compassionate release.

15    The BOP, which has decades of experience diligently assessing such

16    applications, has detailed regulations setting forth relevant

17    procedures and considerations.       See BOP Program Statement No.

18    5050.50, Compassionate Release/Reduction in Sentence: Procedures for

19    Implementation of 18 U.S.C. §§ 3582 and 4205(g) (January 17, 2019),

20    available at https://www.bop.gov/policy/progstat/5050_050_EN.pdf.

21           However, as noted above, BOP has no record of defendant filing

22    any such administrative request for compassionate release with the

23    BOP.    Even if, as he claims, defendant attempted to file such a

24    request administratively, defendant alleges that he first attempted

25    to do so on March 27, 2020.       (See Defendant’s E-Mail Declarations, at

26    pages 17-19 of the Motion.)       Thus, defendant’s motion is premature

27    because it was filed before allowing the BOP the statutorily-mandated

28    30 days to evaluate and act on that request.          As a result, there is

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1     no administrative record yet to review of the BOP’s assessment of the

2     statutory compassionate-release factors.

3                   III. LEGAL FRAMEWORK FOR COMPASSIONATE RELEASE
4            A compassionate-release motion is a request for a permanent

5     reduction in a defendant’s federal sentence.          A district court

6     generally “may not modify a term of imprisonment once it has been

7     imposed.”    See 18 U.S.C. § 3582(c); see Dillon v. United States, 560

8     U.S. 817, 824–25 (2010).      Compassionate release is one of the few

9     exceptions to this rule, allowing a court to “reduce the term of

10    imprisonment (and . . . impose a term of probation or supervised

11    release with or without conditions that does not exceed the unserved

12    portion of the original term of imprisonment)[.]”           18 U.S.C.

13    § 3582(c)(1).

14           Because this relief is both drastic and permanent, it is subject

15    to strict statutory conditions.        First, a district court can evaluate

16    a defendant’s request for compassionate release only “after the

17    defendant has fully exhausted all administrative rights” before the

18    BOP.    Specifically:

19                after the defendant has fully exhausted all
                  administrative rights to appeal a failure of the
20                Bureau of Prisons to bring a motion on the
                  defendant’s behalf or the lapse of 30 days from
21                the receipt of such a request by the warden of
                  the defendant’s facility, whichever is earlier[.]
22
      18 U.S.C. § 3582(c)(1)(A).       This requirement is mandatory and
23
      jurisdictional.     See generally Shaw v. Bank of America Corp., 946
24
      F.3d 533, 541 (9th Cir. 2019) (“statutorily-provided exhaustion
25
      requirements deprive the court of jurisdiction”); United States v.
26
      Weidenhamer, No. CR016-01072-001-PHX-ROS, 2019 WL 6050264, at *2
27
      (D. Az. Nov. 8, 2019) (citing cases).
28

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1           Second, in evaluating compassionate-release motions, courts must

2     follow both the statute and binding policy statements.           See id.; 28

3     U.S.C. § 994(t); USSG § 1B1.13.        Pursuant to those authorities, to be

4     eligible for compassionate release, a defendant must demonstrate:

5     (1) the existence of extraordinary and compelling reasons, within the

6     meaning of the statute; and (2) that he is not a danger to the

7     community.    18 U.S.C. § 3582(c)(1)(A).       Specifically, the statute

8     requires that any reduction be “consistent with applicable policy

9     statements issued by the Sentencing Commission”--in this case, USSG

10    § 1B1.13.    Id.   As the Supreme Court recognized in Dillon, 560 U.S.

11    at 827, because § 3582(c) permits a sentencing reduction only where

12    it is “consistent with applicable policy statements issued by the

13    Sentencing Commission,” such policy statements are binding on a court

14    determining eligibility.

15          USSG § 1B1.13 explicitly defines the “extraordinary and

16    compelling reasons” that make a defendant eligible for compassionate

17    release.    See 28 U.S.C. § 994(t).      They include, as relevant here,

18    (1) a “terminal illness”; (2) a serious medical condition that “that

19    substantially diminishes the ability of the defendant to provide

20    self-care within the environment of a correctional facility and from

21    which he or she is not expected to recover”; or (3) a defendant who

22    is at least 65 years old, is experiencing a serious deterioration in

23    physical or mental health because of the aging process, and “has

24    served at least 10 years or 75 percent of his or her term of

25    imprisonment, whichever is less.”        USSG § 1B1.13 (other grounds

26    omitted).    USSG § 1B1.13, comment. (n.1(A)-(B)).        “[R]ehabilitation

27    of the defendant is not, by itself, an extraordinary and compelling

28    reason for purposes of this policy statement.”          Id., comment. (n.3).

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1           Defendant bears the burden to prove both (1) he has “exhausted

2     all administrative rights” and (2) that “extraordinary and compelling

3     reasons” exist to support his motion.         See 18 U.S.C. § 3582(c)(1)(A);

4     see United States v. Greenhut, No. 18-CR-48-CAS,

5     2020 WL 509385, at *1 (C.D. Cal. Jan. 31, 2020) (defendant bears the

6     burden of establishing entitlement to sentencing reduction); United

7     States v. Hamilton, 715 F.3d 328, 337 (11th Cir. 2013) (“defendant,

8     as the § 3582(c)(2) movant, bears the burden of establishing”

9     eligibility); see generally       United States v. Butler, 970 F.2d 1017,

10    1026 (2d Cir. 1992) (“A party with an affirmative goal and

11    presumptive access to proof on a given issue normally has the burden

12    of proof as to that issue.”).

13          Third, even for defendants who are statutorily eligible,

14    compassionate release is a “rare” and “extraordinary” remedy, within

15    district courts’ discretion to deny.        United States v. Chambliss, 948

16    F.3d 691, 693-94 (5th Cir. 2020); United States v. Mangarella, No.

17    06-CR-151, 2020 WL 1291835, at *2–3 (W.D.N.C. Mar. 16, 2020).

18    Specifically, “it is a rare case in which health conditions present

19    an ‘exceptional reason’” to allow for release where detention would

20    otherwise be warranted.      See, e.g., United States v. Wages, 271 F.

21    App’x 726, 728 (10th Cir. 2008) (collecting pre-trial detention

22    cases); accord United States v. Willis, 382 F. Supp. 3d 1185, 1188

23    (D.N.M. 2019) (“most courts treat compassionate release ‘due to

24    medical conditions [a]s ... a rare event.”).          This reluctance to

25    expansively apply compassionate release is grounded in a concern that

26    any less narrow application would yield significant sentencing

27    disparities.    United States v. Ebbers, -- F. Supp. 3d. --, 2020 WL

28    91399, at *6 (S.D.N.Y. Jan. 8, 2020).

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1                                      IV.   ARGUMENT
2           Defendant’s motion must be dismissed, because he has failed to

3     exhaust administrative remedies.        At minimum, the Court should stay

4     consideration of the motion until after the BOP has had the

5     statutorily-prescribed period to adjudicate defendant’s unconfirmed

6     administrative request--a period during which the BOP can also

7     consider defendant’s eligibility for a transfer to home confinement.

8     Even if this Court could reach the motion’s merits, defendant’s

9     claims must be rejected because (1) he is not eligible for

10    compassionate release; and (2) even if he were, the COVID-19 crisis

11    does not justify a permanent, irrevocable reduction in his sentence,

12    especially in light of the unfair disparity that would create vis-a-

13    vis his co-defendant.

14    A.    Defendant Has Failed to Exhaust Administrative Remedies, And The
15          Court Lacks Jurisdiction to Consider His Claims
16          This Court lacks authority to act on defendant’s compassionate-

17    release motion at this time.       Under 18 U.S.C. § 3582(c)(1)(A), the

18    Court “may not modify a term of imprisonment once it has been imposed

19    except” upon a defendant’s motion “after the defendant has fully

20    exhausted all administrative rights to appeal a failure of the Bureau

21    of Prisons to bring a motion on the defendant’s behalf or the lapse

22    of 30 days from the receipt of such a request by the warden of the

23    defendant’s facility, whichever is earlier[.]”

24          Because this statutory condition has not been satisfied here,

25    the Court lacks authority to adjudicate defendant’s claims.            See

26    Shaw, 946 F.3d at 541.      Moreover, contrary to defendant’s assertion,

27    failure to exhaust cannot be excused.         Instead, as the Third Circuit

28    recently held, § 3882(c)(1)(A) “presents a glaring roadblock

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1     foreclosing compassionate release at this point.          United States v.

2     Raia, No. 20-1033, 2020 WL 1647922, at *2 (3d Cir. Apr. 2, 2020).

3            1.   Defendant Has Not Clearly Filed An Administrative Request
4                 For Compassionate Release And, Even If He Did So On The
5                 Date Alleged), He Has Not Waited The Requisite 30-Days To
6                 Allow BOP To Consider Any Such Request
7            Defendant claims that “he was able to submit the request” for

8     compassionate release on Monday, March 30, 2020, and that it was

9     returned with no action, which he assumes constitutes a rejection of

10    his request by the Warden at FCI Oakdale.         (See Mtn. at 11; Deft’s

11    Apr. 4, 2020 E-Mail Declaration, at page 3 of Defense Exhibits.)

12           However, defendant’s motion does not provide the Court or

13    government counsel with copies of any such request.           We are asked to

14    rely simply upon an allegation made by defendant in e-mail, though

15    under penalty of perjury.       Moreover, although the government’s

16    investigation is not yet complete due to the “emergency” rushed

17    nature of this process, the information available to counsel at this

18    time indicates that BOP has no record of defendant TRAN making a

19    request for compassionate release.          Thus, on this record, it is not

20    clear that defendant has, in fact, effectively filed any

21    administrative request for compassionate release with the warden at

22    all.    Before the Court may decide this motion, defendant must file

23    that request.     Only after 30 days from the BOP’s receipt of that

24    request can this Court consider defendant’s motion.           18 U.S.C.

25    § 3582(c)(1)(A)(i).      Even then, a stay may be warranted to allow the

26    BOP to complete its own review.

27           Even if the Court were to accept as true defendant’s allegation

28    that he submitted a proper administrative request for compassionate

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1     release, defendant admits that “the request” was filed on Monday,

2     March 30, 2020.     If true, the statutorily mandated period of 30 days

3     for BOP to evaluate and act on any such request has not yet elapsed,

4     as required by 18 U.S.C. § 3582(c)(1)(A)(i).          Accordingly, the Court

5     should dismiss the motion as premature or otherwise stay its

6     consideration until defendant has clearly filed the required request

7     and BOP has been given an opportunity to complete its administrative

8     review of the request.

9           At present, defendant simply asks the Court to assume that

10    (1) he’s filed such a request, (2) the Warden at FCI Oakdale has

11    already denied it without comment, and (3) defendant is, therefore,

12    entitled to immediate release from prison.         This kind of harried,

13    undocumented rush to force BOP to release a violent offender is not

14    what the law envisions, and the Court should not countenance it.

15          2.    Failure to Exhaust Cannot be Excused
16          “[S]tatutorily-provided exhaustion requirements deprive the

17    court of jurisdiction and, thus, preclude any exercise of discretion

18    by the Court.”     Shaw, 946 F.3d at 533 (citation omitted).         Given

19    § 3582(c)(1)(A)’s plain language and purpose, the requirements for

20    filing a sentence reduction motion--including the that defendant

21    exhaust administrative remedies or wait 30 days after filing a

22    request with the warden--are jurisdictional.          Section 3582(c) states

23    that a “court may not modify” a term of imprisonment except in

24    enumerated circumstances.       18 U.S.C. § 3582(c).     It thus “speak[s] to

25    the power of the court,” Landgraf v. USI Film Prods., 511 U.S. 244,

26    274 (1994) (citation omitted), delineating “when, and under what

27    conditions,” a court may exercise its “adjudicatory authority,”

28    Bowles v. Russell, 551 U.S. 205, 212-13 (2007) (quoting Eberhart v.

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1     United States, 546 U.S. 12, 16 (2005) (per curiam)).           That conclusion

2     is reinforced by courts’ historical powerlessness to modify a

3     sentence once entered.      See Dillon, 560 U.S. at 825; United States v.

4     Mayer, 235 U.S. 55, 67-69 (1914).

5           However, although the government maintains that

6     § 3582(c)(1)(A)’s time limit is jurisdictional, the point is

7     ultimately academic.      Even if § 3682(c)(1)(A)’s exhaustion

8     requirement is not jurisdictional, it is at least a mandatory claim-

9     processing rule that must be enforced if a party “properly raise[s]”

10    it.   Eberhart, 546 U.S. at 19; see generally Fort Bend County v.

11    Davis, 139 S. Ct. 1843, 1848-50 (2019).         The government raises the

12    rule here, and it thus must be enforced

13          COVID-19 does not alter this conclusion.         While judicially

14    created exhaustion requirements may sometimes be excused, a court may

15    not ignore a statutory command.        “[M]andatory exhaustion

16    statutes . . . establish mandatory exhaustion regimes, foreclosing

17    judicial discretion.”      Ross v. Blake, 136 S. Ct. 1850, 1857 (2016).

18    Thus, exhaustion remains mandatory regardless of a court’s view of

19    the merits: “[o]bviously, the rules requiring exhaustion of the

20    administrative remedy cannot be circumvented” simply by “asserting

21    that [an opposing party’s argument is] groundless[.]”           Meyers v.

22    Bethlehem Shipping Corp., 303 U.S. 41, 51-52 (1938).

23          Consistent with these rules, numerous courts have rejected

24    similar claims in the context of unexhausted COVID-19-based requests

25    for compassionate release.       “Because defendant failed to exhaust his

26    administrative remedies, his request for compassionate release based

27    on COVID-19 concerns fails.”       United States v. Shah, No. 10-70-CJC,

28    ECF No. 329, at 3 (C.D. Cal. Mar. 30, 2020).          Absent such exhaustion,

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1     the court “does not have authority to grant the requested relief.”

2     United States v. Sloane, No. 19-CR-10117-IT-11, ECF No. 647, at 2 (D.

3     Mass. Mar. 19, 2020) (noting no request made to the USP Lompoc

4     Warden); United States v. Gileno, No. 19-CR-161-VAB-1, 2020 WL

5     1307108, at *3—*4 (D. Conn. Mar. 19, 2020) (denying COVID-19-based

6     compassionate-release motion for lack of exhaustion); United States

7     v. Eberhart, No. 13-CR-313-PJH-1, 2020 WL 1450745, at *2 (N.D. Cal.

8     Mar25, 2020) (same); United States v. Neman, No. 14-521-JAK, ECF No.

9     863, at 4—6 (C.D. Cal. Mar. 30, 2020) (same).

10          Exhaustion is particularly inexcusable for errors that an

11    administrative tribunal is competent to address.          Barron v. Ashcroft,

12    358 F.3d 674, 678 (9th Cir. 2004).          Indeed, “[g]iven BOP’s shared

13    desire for a safe and healthy prison environment . . . strict

14    compliance with § 3582(c)(1)(A)’s exhaustion requirement takes on

15    added--and critical--importance.”        Raia, 2020 WL 1647922, at *2.

16    Here, the BOP is not merely competent to address defendant’s

17    compassionate-release claims; it is uniquely qualified to do so.

18    Until First Step Act, the BOP had exclusive authority to adjudicate

19    such claims.    Notably, the First Step Act did not change the factors

20    relevant to compassionate release, only the procedures by which a

21    defendant can raise such claims.        Ebbers, 2020 WL 91399, at *4.       The

22    BOP thus has immense expertise, both in (1) assessing the safety and

23    health of their inmates and (2) managing the administration of their

24    facilities.    As noted above, it likewise has other administrative

25    procedures potentially available for addressing COVID-19-based

26    concerns--none of which defendant has given them an opportunity to

27    evaluate.    Exhaustion cannot--but also should not--be excused.

28    Eberhart, 2020 WL 1450745, at *2 (declining to excuse failure to

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1     exhaust COVID-19 compassionate-release motion); Neman, No. 14-521-

2     JAK, ECF No. 863, at 6 (same).

3           Until 30 days have elapsed from the date defendant applies for

4     compassionate release within BOP, this Court lacks authority to grant

5     relief.    18 U.S.C. § 3582(c)(1)(1).       The Court should thus dismiss

6     defendant’s motion.      At minimum, the Court should stay consideration

7     of the motion until the BOP has completed its administrative review.

8     B.    Defendant Has Failed to Demonstrate an “Extraordinary and
9           Compelling” Reason to Grant Permanent Compassionate Release
10          Even if the Court had authority to consider the merits of

11    defendant’s unexhausted request, defendant has failed to establish

12    his eligibility for compassionate release.         “The First Step Act did

13    not revise the substantive criteria for compassionate release” --

14    criteria that are set forth in the Sentencing Commission’s binding

15    “policy statement,” USSG 1B1.13.        Ebbers, 2020 WL 91399, at *4—*5; 18

16    U.S.C. § 3582(c)(1)(A).      Here, defendant does not identify an

17    “extraordinary and compelling reason warrant[ing]” a reduction under

18    that definition.     18 U.S.C. § 3582(c)(1)(A).       Defendant is thus

19    ineligible for compassionate release.

20          As the Third Circuit recently held, “[w]e do not mean to

21    minimize the risks that COVID-19 poses in the federal prison system,”

22    but the “mere existence of COVID-19 in society and the possibility

23    that it may spread to a particular prison cannot independently

24    justify compassionate release” -- particularly given “BOP’s statutory

25    role, and its extensive and professional efforts to curtail the

26    virus’s spread.”     Raia, 2020 WL 1647922, at *2.

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1           1.       Defendant is Not Eligible for Compassionate Release
2           As a matter of law, a defendant is eligible for compassionate

3     release only if he can demonstrate “extraordinary and compelling

4     reasons warrant[ing] such a reduction,” “consistent with applicable

5     policy statements issued by the Sentencing Commission.”            Id.   Thus,

6     as courts have recognized, Congress intended that the “Sentencing

7     Commission, not the judiciary, determine what constitutes an

8     appropriate use of the ‘compassionate release’ provision.”             United

9     States v. Willingham, No. CR113-010, 2019 WL 6733028, at *2 (S.D. Ga.

10    Dec. 10, 2019) (noting split in authority).          The Sentencing

11    Commission’s policy statement (see USSG § 1B.1.13) is thus binding on

12    this Court.       See Dillon, 560 U.S. at 827; see, e.g., United States v.

13    Nasirun, No. 8:99-CR-367, 2020 WL 686030, at *2 (M.D. Fla. Feb. 11,

14    2020).

15          “General concerns about possible exposure to COVID-19 do not

16    meet the criteria for extraordinary and compelling reasons for a

17    reduction in sentence set forth in the Sentencing Commission’s policy

18    statement[.]”       Eberhart, 2020 WL 1450745, *2.     Those criteria

19    include, as relevant here:

20               •   The medical condition “of the defendant”:
21                   specifically, whether the defendant has either a

22                   “terminal illness” or a “serious physical or medical

23                   condition” that “substantially diminishes the

24                   ability of the defendant to provide self-care within

25                   the environment of a correctional facility and from

26                   which he . . . is not expected to recover.”      USSG

27                   § 1B1.13, comment. (n.1(A)(i)-(ii));

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1               •   The “age of the defendant”: specifically, whether
2                   defendant is “at least 65 years old,” is

3                   “experiencing a serious deterioration in physical or

4                   mental health because of the aging process,” and has

5                   served at least 10 years or 75% of his term of

6                   imprisonment.    Id., comment. (n. 1(B)); or

7               •   “As determined by the Director of the Bureau of
8                   Prisons, there exists in the defendant’s case an

9                   extraordinary and compelling reason other than, or

10                  in combination with,” his illness, age, and family

11                  circumstances.    Id., comment. (n.1(D)). 2

12          The global COVID-19 pandemic is not a factor unique to

13    defendant’s case at all -- and, while his concerns are certainly not

14    frivolous, he offers no case-specific facts establishing his

15    eligibility for compassionate release under USSG § 1B1.13.            Although

16    defendant has health concerns (an asthma condition), defendant’s

17    motion relies primarily on the generalized risk of COVID-19 --

18    arguments that are common, wide-ranging, and would apply to

19    essentially every unhealthy inmate presently in custody.            Although

20    FCI Oakdale lost 5 inmates to COVID-19 during the period between

21    late-March and April 3, 2020, BOP’s prompt mitigation efforts appear

22    to be having the desired effect of safeguarding the inmate population

23    at FCI Oakdale, as no new COVID-related deaths have been reported

24

25
            2Thus, the Court may consider factors set forth in the relevant
26    BOP regulation governing compassionate release: BOP Program Statement
      No. 5050.50, Compassionate Release/Reduction in Sentence: Procedures
27    for Implementation of 18 U.S.C. §§ 3582 and 4205(g) (January 17,
      2019), available at
28    https://www.bop.gov/policy/progstat/5050_050_EN.pdf. Those factors
      make no material difference here.
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1     since April 3, 2020.      See BOP COVID-19 Resource,

2     https://www.bop.gov/coronavirus/index.jsp (as of April 9, 2020).

3           Particularly considering both how the BOP has addressed COVID-19

4     generally and at FCI Oakdale, defendant’s circumstances are not

5     sufficiently extraordinary and compelling to justify a modified

6     sentence.    Indeed, defendant’s arguments totally overlook the BOP’s

7     ability to treat infectious disease.        Even chronic conditions “that

8     can be managed in prison are not a sufficient basis for compassionate

9     release.”    United States v. Ayon-Nunez, No. 16-cR-130-DAD, 2020 WL

10    704785, at *2–3 (E.D. Cal. Feb. 12, 2020).         Thus, the Court “cannot

11    assume that the Bureau of Prisons will be unable to manage [any]

12    outbreak or adequately treat [defendant] should it emerge at his

13    correctional facility while he is still incarcerated.”           Gileno, 2020

14    WL 1307108, at *4 (denying compassionate-release motion in COVID-19-

15    related case involving a defendant who raised specific health

16    concerns); accord Shah, No. 10-70-CJC, ECF No. 329, at 3.            By

17    defendant’s logic, such conditions would universally qualify

18    convicted inmates for shorter sentences given the present pandemic.

19    That is not and cannot be the case.

20          Defendant’s specific health concern does not alter this

21    conclusion.    Although defendant has an asthma condition, his motion

22    fails to demonstrate that the condition is serious or that it

23    currently exposes him to undue risk of infection.           In defendant’s

24    April 2010 Pre-Sentence Report, the USPO noted that “Tran suffered

25    from asthma during childhood and less severe asthma as an adult.”

26    (PSR 85.)    Thus, the severity and associated-risk of the condition

27    are unclear.    Moreover, BOP’s medical staff at FCI Oakdale are in a

28    far better position to assess defendant’s current asthma condition

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1     and evaluate whether the COVID-19 situation warrants a release,

2     transfer, or other relief.       Under applicable law, the BOP must be

3     given an opportunity to make those decisions in the first instance.

4           These health concerns do not, by themselves, satisfy USSG

5     § 1B1.13.    Defendant is not, for example, terminally-ill, or subject

6     to a serious and unrecoverable condition that makes him unable to

7     “provide self-care” within a BOP facility.         USSG § 1B1.13, comment.

8     (n.1(A)(i)-(ii).     Defendant also does not satisfy the statute’s age-

9     related conditions.      Id., comment. (n.1(B)).      Instead, he relies on

10    diagnoses that universally fall short of qualifying conditions.

11          Indeed, a motions panel of the Third Circuit recently denied a

12    motion for bail pending appeal based on COVID-19 concerns that were

13    argued to be amplified because of the defendant’s specific health

14    problems.    In United States v. Davis, No. 19-1604, ECF No. 50 (3d

15    Cir. Mar. 20, 2020), appellant James Davis sought release from

16    custody pending appeal due to a “severe risk of death from COVID-19,”

17    and specifically alleged that he was 69 years old and suffered from

18    asthma, heart arrhythmia, high blood pressure, cystitis, and a
19    history of prostate cancer with radiological treatment.            See

20    Emergency Motion for Bail Pending Appeal, United States v. Davis, No.

21    19-1604, ECF No. 43-1 (3d Cir. Mar. 17, 2020).          The appellant further

22    argued that while incarcerated, he lived in a shared cell with bunk-

23    style beds, in a unit housing over 100 inmates, where inmates had

24    close physical interaction.       Id.   Notwithstanding that more

25    compelling record, the Third Circuit denied Davis’s motion for bail

26    pending appeal, without prejudice to him renewing the motion “if he

27    is diagnosed with COVID-19.”       Davis, ECF No. 50 (3d Cir. Mar. 20,

28    2020).

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1           Thus, mere anxiety about the risk of a COVID-19 infection, even

2     when combined with defendant’s health issue, simply does not present

3     an “extraordinary and compelling reason” to release defendant early

4     from his sentence.     Nor has defendant provided any evidence that he

5     will be less likely to contract COVID-19 if released.           Defendant’s

6     circumstances are -- in the present pandemic -- far closer to

7     ordinary than “extraordinary.”       The motion must be denied.

8           2.    Defendant Remains a Danger to the Community, Which Also
9                 Defeats his Eligibility for Release
10          Defendant’s motion -- even if properly exhausted, and even if

11    defendant were otherwise eligible for relief -- must also be denied

12    because he remains a danger to the community.

13          This Court may not reduce a defendant’s sentence unless it finds

14    that “the defendant is not a danger to the safety of any other person

15    or to the community, as provided in 18 U.S.C. § 3142(g).” USSG

16    § 1B1.13; see United States v. Gotti, No. 02-CR-743, 2020 WL 497987,

17    at *6 (S.D.N.Y. 2020) (release was inappropriate regardless of

18    extraordinary and compelling circumstances; defendant posed a

19    continuing danger to the public); accord United States v. Urso, No.

20    03-CR-1382, 2019 WL 5423431, at *3 (E.D.N.Y. Oct. 23, 2019); United

21    States v. Applewhite, No. 08-CR-60037, 2020 WL 137452, at *2 (D. Or.

22    Jan. 13, 2020) (denying compassionate release for seriously ill 80-

23    year-old inmate based on danger).

24          The record here precludes any such finding.         To the contrary,

25    defendant poses a very real danger to the community.           As Judge

26    Guilford found less than two years ago, at the time he resentenced

27    defendants, defendant TRAN is convicted of a serious crime that

28    required a 15-year sentence to protect the public.           That judgment is

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1     unimpeachable on the facts of this case, with defendants who armed

2     themselves with five firearms (including a machinegun, silencer-

3     equipped AR-15 rifle, and silencer-equipped handgun), hundreds of

4     rounds of ammunition, zip-ties, and body armor, all in preparation

5     for committing a violent home-invasion robbery in a residential

6     community in Fountain Valley, CA.

7           In the current climate, irresponsible social habits also gravely

8     endanger the community.      United States v. Hir, 517 F.3d 1081, 1088

9     (9th Cir. 2008) (“community,” within the meaning of 18 U.S.C. § 3142,

10    is not necessarily confined to local geography).          All California

11    residents are currently required to shelter in place and “heed the

12    current State public health directives” to avoid the spread of COVID-

13    19.   California Executive Order N-33-20 (March 19, 2020), available

14    at https://covid19.ca.gov/img/Executive-Order-N-33-20.pdf.            Such

15    rules, though enforceable by peace officers, rely largely on

16    voluntary compliance.      A person who ignores such rules could increase

17    infection rates, leading to citizens’ severe illness and death.

18    C.    Even If Defendant Were Otherwise Eligible, 18 U.S.C. § 3553(a)
19          Factors Do Not Support a Shorter Sentence
20          Finally, any compassionate-release decision -- even for a

21    statutorily eligible defendant -- must also consider the factors

22    under 18 U.S.C. § 3553(a).       See 18 U.S.C. § 3582(c)(1)(A)(i).

23    Defendant addresses none of these factors in his motion.            Those

24    factors -- which this Court already considered when imposing

25    defendant’s 15-year sentence -- do not support his request for an

26    early, permanent release.       They support his original sentence.

27          At the time of the resentencing hearing in July 2018, the Court

28    (per Judge Guilford) rejected the request of both defendants TRAN and

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1     PARK for a time-served sentence of approximately 10 years.            (CR 394;

2     RT 7/11/18: 37-40.)      The Court did so even though defendant had “done

3     a good job in prison” and had “lot[s] of support from others,” which

4     “speaks well of [defendant TRAN].”          (RT 7/11/18: 37.)

5     Notwithstanding defendant’s claim that he was a changed man and a

6     time-served sentence of 10 years was sufficient, the Court sentenced

7     defendant to a sentence of 15 years’ imprisonment, above the

8     Guidelines range.     (CR 378, 379; see also CR 394; RT 7/11/18: 37-40.)

9     In explaining its sentence, the Court said it felt a sentence of 15-

10    years’ imprisonment was necessary to achieve the goals of sentencing

11    under § 3553(a), specifically, to account for the “nature and

12    circumstances of the offense,” “the seriousness of the offense,” “to

13    promote respect for the law and provide a just punishment,” and “the

14    need to protect the public from further crimes of the defendant.”

15    (RT 7/11/18: 37-40.)      Judge Guilford said that one of the “things

16    that continue[d] to trouble [him] about the defendants” was “the

17    callousness of the crimes that you were convicted of,” namely, the

18    callous disregard for the interests of others that defendants

19    exhibited in undercover recordings in which they planned how to

20    execute a violent, home-invasion robbery of a residence, “zip-tie”

21    the occupants, use them as human “shields” if necessary to clear the

22    house, and shoot and kill any occupant who resisted or tried to

23    escape.    (Id. at 37-38.)    Judge Guilford was also very troubled by

24    defendant TRAN’s statement to the CI that, through use of his

25    machinegun, he could “take out five cops in a second if he had to do

26    so.”    (Id.)

27           Granting compassionate release would undermine the Court’s

28    careful consideration of these factors at the time of sentencing.

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1     Moreover, defendant’s pending motion for an early, permanent release

2     implicates another important sentencing factor that was not relevant

3     at the time of the resentencing hearing: namely, the need to avoid

4     unwarranted disparity in sentencing.        18 U.S.C. § 3553(a)(6).

5            As to the issue of unwarranted disparities, it bears noting that

6     defendant TRAN’s co-defendant, YU SUNG PARK, was also resentenced to

7     15-years’ imprisonment (CR 380, 381) because Judge Guilford thought

8     “the circumstances are sufficiently similar for both [defendants]”

9     and thus warranted identical sentences.         (See CR 394; RT 7/11/18:

10    40.)       Thus, defendant TRAN’s request for an early, permanent release

11    upends that result and creates significant unfairness vis-a-vis his

12    co-defendant, PARK. 3     That is especially true given that the evidence

13    showed TRAN was the leader and organizer of the conspiracy.

14                                    V.    CONCLUSION
15           Defendant’s motion for compassionate release should be dismissed

16    without prejudice or, in the alternative, stayed until the BOP has

17    completed its administrative review.        Even if the Court could reach

18    the merits of defendant’s motion, the motion should be denied for the

19    reasons set forth above.

20           Finally, the government requests that, if this Court ultimately

21    grants relief, the government be given an opportunity to brief

22    appropriate conditions -- including a release plan, a mandatory

23    quarantine, and a period of home confinement as a condition of

24    supervised release.      See 18 U.S.C. § 3582(c)(1)(A).

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             3
             BOP’s website shows that defendant PARK is in custody at FCI
28    Sandstone in Sandstone, Minnesota.

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